     Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 1 of 153




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12   FriendFinder Networks Inc. and Streamray
     Inc.
13

14
                             UNITED STATES DISTRICT COURT
15
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                 SAN FRANCISCO DIVISION
17

18   WAG ACQUISITION, L.L.C.,                      Case No. 19-cv-05036-JD

19                              Plaintiff,         Honorable James Donato
                                                   Courtroom 11
20                         v.
                                                   FURTHER UPDATE ON REEXAMS
21   FRIENDFINDER NETWORKS INC., et al.,

22                              Defendants.

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                   FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
      Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 2 of 153




 1          Defendants/Counter-Claimants FriendFinder Networks Inc. and Streamray Inc.

 2   (collectively, “FriendFinder”) hereby advise the Court in furtherance of Dkt. Nos. 226-230 that

 3   FriendFinder filed on December 10, 2021 a petition with the United States Patent and Trademark

 4   Office (“USPTO”) under 37 CFR §§ 1.515(c) and 1.181, seeking to reverse its denial of ex parte

 5   reexamination no. 90/014,835 pertaining to U.S. Patent No. 8,185,611. The USPTO’s prior orders

 6   granting FriendFinder’s three ex parte reexaminations and prior denial, including the above

 7   petition, are attached in Exhibits A-D (and referenced below).

 8          FriendFinder also provides the summary table below of the current and resolved or

 9   terminated litigations, ex parte reexaminations, and inter partes reviews for the asserted patents in

10   this action (i.e., U.S. Patent Nos. 8,122,141; 8,327,011; 8,185,611; and 8,364,839) and related

11   patents (e.g., U.S. Patent Nos. 9,742,824; 9,729,594; and 9,762,636).

12            CURRENT LITIGATIONS AND EX PARTE REEXAMINATIONS
13    No.                Case Caption                   Court      Patent(s)     Status
      1   WAG Acquisition, L.L.C. v. Flying          WDWA         8,122,141 On December
14        Crocodile, Inc. et al., No. 2:19-cv-01278-              8,327,011 10, 2021, the
          BJR                                        (transferred 8,185,611 Court granted
15                                                   from DNJ) 8,364,839 the Parties’
                                                                             request to
16
                                                                             extend
17                                                                           damages
                                                                             discovery until
18                                                                           January 28,
                                                                             2022. Dkt.
19                                                                           Nos. 282-283.
20
                                                                                        Flying
21                                                                                      Crocodile has
                                                                                        moved to stay
22                                                                                      the case based
                                                                                        on the ex parte
23                                                                                      reexaminations
                                                                                        which WAG
24
                                                                                        has opposed.
25                                                                                      Dkt. Nos. 274-
                                                                                        278, 281.
26
                                                                                        Markman
27                                                                                      briefing is
28                                                                                      under
                                                                                        submission as
                                                      2
                     FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
     Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 3 of 153



                                                                           of April 14,
 1
                                                                           2021. Dkt.
 2                                                                         Nos. 262-270.
     2   WAG Acquisition, L.L.C. v. Amazon.com,     WDTX       9,742,824   Complaint
 3       Inc. et al, 6:21-cv-00815-ADA                         9,729,594   filed on
                                                               9,762,636   August 6,
 4                                                                         2021. Dkt.
                                                                           No. 1.
 5

 6                                                                         On November
                                                                           1, 2021,
 7                                                                         Amazon
                                                                           answered.
 8                                                                         Dkt. No. 22.
 9
                                                                           On December
10                                                                         6, 2022, the
                                                                           Parties filed a
11                                                                         motion for
                                                                           entry of a
12                                                                         proposed
                                                                           Scheduling
13
                                                                           Order. Dkt.
14                                                                         Nos. 27-28.
     3   WAG Acquisition, L.L.C. v. Google LLC et   WDTX       9,742,824   Complaint
15       al, 6:21-cv-00816-ADA                                 9,729,594   filed on
                                                               9,762,636   August 6,
16                                                                         2021. Dkt.
17                                                                         No. 1.

18                                                                         On November
                                                                           1, 2021,
19                                                                         Google filed a
                                                                           motion to
20                                                                         dismiss, which
21                                                                         WAG opposed
                                                                           on November
22                                                                         15, 2022. Dkt.
                                                                           Nos. 17, 30-
23                                                                         32.
24                                                                         On December
                                                                           6, 2022, the
25
                                                                           Parties filed a
26                                                                         motion for
                                                                           entry of a
27                                                                         proposed
                                                                           Scheduling
28

                                               3
                 FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
         Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 4 of 153



                                                                                       Order. Dkt.
 1
                                                                                       No. 33-34.
 2       4   WAG Acquisition, L.L.C. v. Netflix, Inc.,       WDTX         9,742,824    Complaint and
             6:21-cv-01083-ADA                                            9,729,594    Amended
 3                                                                                     Complaint
                                                                                       filed on
 4                                                                                     October 18,
                                                                                       2021. Dkt.
 5
                                                                                       Nos. 1, 8.
 6
                                                                                       Netflix’s
 7                                                                                     answer or
                                                                                       response is due
 8                                                                                     January 7,
 9                                                                                     2022. Dkt.
                                                                                       No. 24.1
10       5   WAG Acquisition, L.L.C. v. The Walt             CDCA         9,742,824    Complaint
             Disney Company et al, 2:21-cv-08230-                         9,729,594    filed October
11           JAK-E                                                        9,762,6362   18, 2021. Dkt.
                                                                                       No. 1.
12

13                                                                                     Waivers of
                                                                                       Service of
14                                                                                     Summons
                                                                                       executed;
15                                                                                     answer or
                                                                                       response due
16
                                                                                       January 28,
17                                                                                     2022. Dkt.
                                                                                       Nos. 44-46.
18       6   WAG Acquisition, LLC v. Hulu LLC, 2:21-         CDCA         9,742,824    Complaint
             cv-08242-MCS-AFM                                             9,729,5943   filed October
19                                                                                     18, 2021. Dkt.
                                                                                       No. 1.
20

21                                                                                     Waiver of
                                                                                       Service of
22                                                                                     Summons
                                                                                       executed;
23
     1
24    Venable represents Netflix in this litigation; it previously represented Multi Media, WMM, and
     WebPower.
25   2
       The Prayer for Relief, however, refers to purported infringement of two patents (i.e., U.S. Patent
26   No. 9,742,824 and 9,729,594) but purported damages on a different two patent group (i.e., U.S.
     Patent No. 9,742,824 and 9,762,636). See Dkt. No. 1, at 14.
27
     3
       The Prayer for Relief, however, references three patents (i.e., 9,742,824, 9,729,594, and
28   9,762,636). See Dkt. No. 1, at 11.

                                                         4
                      FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
     Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 5 of 153



                                                                            answer or
 1
                                                                            response due
 2                                                                          January 28,
                                                                            2022. Dkt.
 3                                                                          Nos. 36-37.
     7    Ex Parte Reexamination, Control Number:   USPTO       8,327,011   Reexamination
 4        90/014,833.                                                       Ordered on
                                                                            November 16,
 5
                                                                            2021. See
 6                                                                          Exhibit A.
     8    Ex Parte Reexamination, Control Number:   USPTO       8,122,141   Reexamination
 7        90/014,834.                                                       Ordered on
                                                                            September 21,
 8                                                                          2021. See
 9                                                                          Exhibit B.
     9    Ex Parte Reexamination, Control Number:   USPTO       8,185,611   Reexamination
10        90/014,835.                                                       denied on
                                                                            November 12,
11                                                                          2021. See
                                                                            Exhibit C,
12                                                                          including the
13                                                                          petition for
                                                                            reversal.
14
                                                                            FriendFinder
15                                                                          filed a petition
                                                                            for reversal of
16
                                                                            this denial.
17   10   Ex Parte Reexamination, Control Number:   USPTO       8,364,839   Reexamination
          90/014,836.                                                       Ordered on
18                                                                          September 30,
                                                                            2021. See
19                                                                          Exhibit D.
20                      RESOLVED OR TERMINATED LITIGATIONS AND
                                       INTER PARTES REVIEWS
21   11   WAG Acquisition, L.L.C. v. Gattyàn Group DNJ      8,122,141       Dismissed
          S.à r.l. et al., No. 2:14-cv-2832-ES-MAH          8,327,011       with prejudice
22                                                          8,185,611       So Ordered on
                                                            8,364,839       September 15,
23                                                                          2021. Dkt. No.
24                                                                          310.

25                                                                          The Parties
                                                                            had completed
26                                                                          claim
                                                                            construction or
27
                                                                            Markman
28                                                                          briefing as of
                                                                            March 4, 2021.
                                               5
                  FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
     Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 6 of 153



                                                                                 Dkt. Nos. 272-
 1
                                                                                 274, 281-282.
 2   12   WAG Acquisition, L.L.C. v. Vubeology, Inc.    WDTX         8,122,141   Dismissed
          et al., No. 1:19-cv-00805-LY                  (transferred 8,327,011   without
 3                                                      from DNJ)                prejudice So
                                                                                 Ordered on
 4                                                                               April 19, 2021.
                                                                                 Dkt. No. 174.
 5
     13   WAG Acquisition, L.L.C. v. Data               DNV          8,122,141   Dismissed
 6        Conversions, Inc. et al., No. 3:19-cv-        (transferred 8,327,011   with prejudice
          00489-MMD-CLB                                 from DNJ)                So Ordered on
 7                                                                               March 17,
                                                                                 2021. Dkt.
 8                                                                               No. 278.
 9   14   WAG Acquisition L.L.C. v. WebPower, Inc.      SDFL         8,122,141   Dismissed
          et al., No. 9:19-cv-81155-RAR                 (transferred 8,327,011   with prejudice
10                                                      from DNJ) 8,364,839      So Ordered on
                                                                     8,185,611   February 7,
11                                                                               2021. Dkt.
                                                                                 No. 191.
12
     15   WAG Acquisition, LLC v. Multi Media,          CDCA         8,122,141   Dismissed
13        L.L.C. et al., No. 2:19-cv-07076-JAK-GJS      (transferred 8,327,011   with prejudice
                                                        from DNJ)                So Ordered on
14                                                                               January 8,
                                                                                 2021. Dkt.
15                                                                               No. 266.
     16   WAG Acquisition, L.L.C. v. Sobonito           DNJ         8,122,141    Dismissed
16
          Investments, Ltd. et al., No. 2:14-cv-1661-               8,327,011    with prejudice
17        ES-MAH                                                    8,185,611    So Ordered on
                                                                    8,364,839    September 8,
18                                                                               2020. Dkt. No.
                                                                                 213.
19   17   WAG Acquisition, L.L.C. v. Gamelink Int’l     DNJ         8,122,141    Notice of
20        Ltd. et al., No. 2:15-cv-3416-ES-MAH                      8,327,011    dismissal So
                                                                                 Ordered on
21                                                                               November 8,
                                                                                 2018. Dkt.
22                                                                               No. 56.
     18   WAG Acquisition, L.L.C. v. MFCXY, Inc. et     DNJ         8,122,141    Stipulation of
23
          al., No. 2:14-cv-3196-ES-MAH                              8,327,011    dismissal So
24                                                                  8,364,839    Ordered on
                                                                    8,185,611    May 8, 2015.
25                                                                               Dkt. No. 48.
     19   WAG Acquisition, L.L.C. v. XM Satellite       SDNY        6,766,376    Stipulation of
26        Radio, Inc. et al, No. 1:08-cv-06357-RMB-                              dismissal So
          MHD                                                                    Ordered on
27
                                                                                 February 9,
28                                                                               2009. Dkt.
                                                                                 No. 33.
                                                   6
                   FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
         Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 7 of 153



         20   WebPower et al. v. WAG Acquisition LLC,   PTAB        8,122,141   The PTAB
 1
              IPR2016-012384                                                    found on July
 2                                                                              16, 2020
                                                                                claims 10–18
 3                                                                              unpatentable in
                                                                                a final written
 4                                                                              decision,
                                                                                which was not
 5
                                                                                appealed by
 6                                                                              WAG. Final
                                                                                Written
 7                                                                              Decision on
                                                                                Remand,
 8                                                                              WebPower v.
                                                                                WAG
 9
                                                                                Acquisition,
10                                                                              IPR2016-
                                                                                01238, Paper
11                                                                              No. 28 (Jul.
                                                                                16, 2020).
12

13                                                                              Previously
                                                                                claims 19-23
14                                                                              were found
                                                                                invalid and not
15                                                                              appealed.
                                                                                WAG
16                                                                              Acquisition,
17                                                                              LLC v.
                                                                                WebPower,
18                                                                              Inc., 781 F.
                                                                                App’x 1007,
19                                                                              1009 n.2 (Fed.
                                                                                Cir. 2019)
20                                                                              (“The Board
21                                                                              also instituted
                                                                                review of
22                                                                              claims 19-23
                                                                                on multiple
23                                                                              grounds. WAG
                                                                                has not
24
                                                                                challenged the
25                                                                              Board’s
                                                                                unpatentability
26                                                                              determinations
                                                                                with respect to
27                                                                              these claims.”)
28
     4
         IPR2017-00820 and IPR2017-00786 were joined with IPR2016-01238.
                                                  7
                      FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
         Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 8 of 153



         21   WebPower et al. v. WAG Acquisition          PTAB      8,364,839   On December
 1
              L.L.C., IPR2016-012395                                            26, 2017
 2                                                                              (Paper No. 21),
                                                                                the PTAB
 3                                                                              found claims
                                                                                5, 12, and 19
 4                                                                              unpatentable in
                                                                                a final written
 5
                                                                                decision. Final
 6                                                                              Written
                                                                                Decision,
 7                                                                              WebPower v.
                                                                                WAG
 8                                                                              Acquisition,
                                                                                IPR2016-
 9
                                                                                01239, Paper
10                                                                              No. 21 (Dec.
                                                                                26., 2017).
11
                                                                                On August 26,
12                                                                              2019, the
13                                                                              Federal Circuit
                                                                                issued a Fed.
14                                                                              Cir. R. 36
                                                                                affirmance.
15                                                                              See WAG
                                                                                Acquisition,
16                                                                              LLC v.
17                                                                              WebPower,
                                                                                Inc., 2019 U.S.
18                                                                              App. LEXIS
                                                                                25497, at *1
19                                                                              (Fed. Cir. Aug.
                                                                                26, 2019).
20
         22   Duodecad IT Services Luxembourg S.à r.l.    PTAB      8,364,839   On October
21            et al v. WAG Acquisition L.L.C., IPR2015-                         20, 2016, the
              01036                                                             PTAB found
22                                                                              claims 1, 3, 4,
                                                                                6, 8, 10, 11,
23                                                                              13, 15, 17, 18,
                                                                                and 20
24
                                                                                unpatentable in
25                                                                              a final written
                                                                                decision,
26                                                                              which was not
                                                                                appealed by
27                                                                              WAG. Final
28
     5
         IPR2017-00784 and IPR2017-00785 were joined with IPR2016-01239.
                                                  8
                      FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
     Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 9 of 153



                                                                            Written
 1
                                                                            Decision,
 2                                                                          Duodecad IT
                                                                            Services
 3                                                                          Luxembourg
                                                                            S.à r.l. et al v.
 4                                                                          WAG
                                                                            Acquisition,
 5
                                                                            IPR2015-
 6                                                                          01036, Paper
                                                                            No. 17, at 43
 7                                                                          (Oct. 20,
                                                                            2016).
 8   23   Duodecad IT Services Luxembourg S.à r.l.    PTAB      8,185,611   Denied
 9        et al v. WAG Acquisition L.L.C., IPR2015-                         institution.
          01035
10   24   FriendFinder Networks Inc. et al. v. WAG    PTAB      8,122,141   Denied
          Acquisition L.L.C., IPR2015-01037                                 institution.
11   25   FriendFinder Networks Inc. et al. v. WAG    PTAB      8,327,011   Denied
          Acquisition L.L.C., IPR2015-01033                                 institution.
12
     26   WebPower v. WAG Acquisition L.L.C.,         PTAB      8,327,011   Denied
13        IPR2016-01161                                                     institution.
     27   WebPower v. WAG Acquisition L.L.C.,         PTAB      8,185,611   Denied
14        IPR2016-01162                                                     institution.
     28   I.M.L. SLU v. WAG Acquisition L.L.C.,       PTAB      8,327,011   Denied
15        IPR2016-01655                                                     institution.
16   29   I.M.L. SLU v. WAG Acquisition L.L.C.,       PTAB      8,122,141   Terminated.
          IPR2016-01656                                                     See Dismissing
17                                                                          Petition and
                                                                            Petitioner’s
18                                                                          Motion for
                                                                            Adverse
19                                                                          Judgment,
20                                                                          I.M.L. SLU et
                                                                            al. v. WAG
21                                                                          Acquisition,
                                                                            IPR2016-
22                                                                          01658, Paper
                                                                            No. 46 (Feb.
23
                                                                            27, 2018)
24                                                                          (discussing
                                                                            termination
25                                                                          reasons
                                                                            regarding U.S.
26                                                                          Patent No.
                                                                            8,364,839).
27
     30   I.M.L. SLU v. WAG Acquisition L.L.C.,       PTAB      8,185,611   Denied
28        IPR2016-01657                                                     institution.

                                                  9
                  FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
     Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 10 of 153



         31   I.M.L. SLU v. WAG Acquisition L.L.C.,      PTAB         8,364,839    Terminated
 1
              IPR2016-016586                                                       (Paper No. 46
 2                                                                                 as discussed
                                                                                   above).
 3
                                                                                   Also,
 4                                                                                 IPR2017-
                                                                                   01179 joinder
 5
                                                                                   was vacated.
 6

 7

 8
         DATE: December 15, 2021                 VENABLE LLP
 9
                                                 By:    /s/ Sarah S. Brooks
10                                               Sarah S. Brooks
                                                 Frank M. Gasparo (Admitted Pro Hac Vice)
11
                                                 Ralph A. Dengler (Admitted Pro Hac Vice)
12                                               Andrew P. MacArthur
                                                 Attorneys for Defendants/Counter-Claimants
13                                               FriendFinder Networks Inc. and Streamray Inc.

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     6
         IPR2017-01179 was joined with IPR2016-01658.
                                                  10
                      FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 11 of 153




                     EXHIBIT A
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 12 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 13 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 14 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 15 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 16 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 17 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 18 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 19 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 20 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 21 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 22 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 23 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 24 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 25 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 26 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 27 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 28 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 29 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 30 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 31 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 32 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 33 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 34 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 35 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 36 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 37 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 38 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 39 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 40 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 41 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 42 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 43 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 44 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 45 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 46 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 47 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 48 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 49 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 50 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 51 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 52 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 53 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 54 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 55 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 56 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 57 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 58 of 153




                     EXHIBIT B
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 59 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 60 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 61 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 62 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 63 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 64 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 65 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 66 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 67 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 68 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 69 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 70 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 71 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 72 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 73 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 74 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 75 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 76 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 77 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 78 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 79 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 80 of 153




                     EXHIBIT C
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 81 of 153




                     DECISION
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 82 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 83 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 84 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 85 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 86 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 87 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 88 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 89 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 90 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 91 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 92 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 93 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 94 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 95 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 96 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 97 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 98 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 99 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 100 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 101 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 102 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 103 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 104 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 105 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 106 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 107 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 108 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 109 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 110 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 111 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 112 of 153




                      PETITION
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 113 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 114 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 115 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 116 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 117 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 118 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 119 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 120 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 121 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 122 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 123 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 124 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 125 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 126 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 127 of 153




                     EXHIBIT D
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 128 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 129 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 130 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 131 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 132 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 133 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 134 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 135 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 136 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 137 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 138 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 139 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 140 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 141 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 142 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 143 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 144 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 145 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 146 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 147 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 148 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 149 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 150 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 151 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 152 of 153
Case 3:19-cv-05036-JD Document 231 Filed 12/15/21 Page 153 of 153
